
62 So. 3d 1234 (2011)
Herbert J. BELL, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-1257.
District Court of Appeal of Florida, Fifth District.
June 10, 2011.
Herbert J. Bell, East Palatka, pro se.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion will be filed with the lower court and be treated as the notice of appeal from both the order denying the motion for post-conviction relief in Case No. 2000-CF-000479 rendered on February 8, 2011 and the order barring the defendant from filing further pro se motions rendered March 10, 2011 by the Circuit Court in and for Flagler County. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
PALMER, ORFINGER and TORPY, JJ., concur.
